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June 6, 2023

Via ECF
Honorable Denise Cote
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
Courtroom 18B
New York, NY 10007

         RE:    United States v. James Velissaris, 22 cr. 105 (DLC)

Dear Judge Cote:

        James Velissaris, by and through undersigned counsel, writes to notify the Court of his
intent to file objections to the Government’s restitution request made on behalf of the Diversified
Alpha Fund in the amount of $59,152,245.00 and the Volatility Alpha Fund in the amount of
$67,129,126.02 . The basis for Mr. Velissaris’ objections include, inter alia, (1) the crime of which
he was convicted is not included in the applicable restitution statutes; (2) even if the statutes were
applicable, the number of victims and complex issues of fact in this case would make restitution
impracticable under the Mandatory Victims Restitution Act (18 U.S.C. § 3663A(b)(1)); (3) any
fees associated with the Funds’ participation in and/or compliance with the SEC’s civil
order/investigation, or the Fund’s own investigation, are not recoverable; (4) the calculation of the
amount of overpayments is unreliable; (5) the victims will be made whole by settlements in related
civil matters; and (6) Mr. Velissaris cannot be held responsible for the legal fees of third parties.

        Mr. Velissaris will submit his opposition in accordance with the Court’s briefing schedule
as set forth in Dkt. No. 126.

                                               Respectfully submitted,

                                                     /s/
                                               Michelle N. Bradford (admitted pro hac vice)
                                               Michael A. Battle
                                               William R. Martin (admitted pro hac vice)
                                               David S. Slovick (Entry of Appearance forthcoming)
                                               Erin C. Steele (pro hac vice pending)
                                               BARNES & THORNBURG LLP
                                               555 12th Street NW, Suite 1200
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Honorable Denise Cote
RE: United States v. James Velissaris, 22 cr. 105 (DLC)
June 6, 2023
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cc:    Counsel of Record (via ECF)
